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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SCOTT MAIONE and TASHA OSTLER,
(on behalf of their three infant children)
                                                                             Index No. 18-cv-7452
                                            Plaintiffs,                      (KMK)
                              -against-

DR. HOWARD A. ZUCKER, Commissioner of the New                                NOTICE OF MOTION
York State Department of Health, The New York State
Department of Health, SAMUEL D. ROBERTS,
Commissioner of the New York State Office of Temporary
and Disability Assistance-Office of Administrative
Hearings, The Office of Temporary and Disability
Assistance-Office of Administrative Hearings, JOAN
SILVESTRI, Commissioner, Rockland County Dept. of
Social Services, and SUSAN SHERWOOD, former
Commissioner of Rockland County Dept. of Social
Services,
                                           Defendants
------------------------------------------------------------------------X

MOTION BY:                                           THOMAS E. HUMBACH, County Attorney
                                                     Attorneys for defendants JOAN SILVESTRI,
                                                     Commissioner, Rockland County Dept. of Social
                                                     Services, and SUSAN SHERWOOD, former
                                                     Commissioner of Rockland County Dept. of Social
                                                     Services (collectively “County Defendants”)
                                                     by Larraine S. Feiden, Principal Assistant County
                                                     Attorney


MOTION TIMING SCHEDULE:                              Pursuant to the briefing schedule ordered by Hon.
                                                     Kenneth M. Karas, U.S.D.J., opposition papers are to
                                                     be served by June 30, 2021 and reply papers are to
                                                     be served by July 14, 2021, or such other and further
                                                     schedule as may be determined by the Court.


SUPPORTING PAPERS:                                   Declaration of Larraine S. Feiden, Esq., together
                                                     with Exhibits; the and Memorandum of Law in
                                                     Support.
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RELIEF REQUESTED:                  An Order:

                                   1) Dismissing Plaintiffs’ Second Amended
                                      Complaint pursuant to Rules 12(b)(1), (5) and (6)
                                      of the Federal Rules of Civil Procedure; and

                                   2) For such other and further relief as this Court
                                      deems just and proper.

Dated: June 4, 2021
       New City, New York

                                   THOMAS E. HUMBACH
                                   County Attorney
                                   Attorneys for County Defendants
                                   Rockland County Department of Law
                                   11 New Hempstead Road
                                   New City, New York 10956
                                   (845) 638-5180

                                   By: /s/   Larraine S. Feiden
                                             Larraine S. Feiden
                                             Principal Assistant County Attorney
                                             feidenl@co.rockland.ny.us
